Case 1:12-cv-00873-WES-LDA Document 6

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UNITED STATES. DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND —

GERALD M. BROWN JR.
VS.

CA, 1:12-cv-00873-S-LDA
RHODE ISLAND ATTORNEY GENERAL

Loay EE NW €ttt

OBJECTION TO MAGISTRATE LINCOLN ALMOND’S REPORT AND RECOMMENDATION TO DISMISS.

Now comes the plaintiff, Gerald M. Brown Jr., to object to the magistrates’ report and
recommendation, To dismiss his claim to prove his innocence and his rights violation by the State of
Rhode Island Attorney General. | understand that Mr. Almond feels that he should protect this state

And its backward laws but, this is not the proper time. The plaintiff has already completed his dept.

that the State of Rhode Island Placed upon him and is still claiming that he is innocent of the crime and
to have Mr. Almond Nonchalanitly tell the plaintiff that because he is no longer incarcerated that he no
longer has the right to try to clear himself in the federal court than that is just wrong he is condoning
the wrong done to The plaintiff as if he himself was responsible for the injustice and will help to cover it
Ups os bt ree

Tg :

This is the only way | know of to push this issue as | am not an attorney and never claimed to be. | am
only looking for justice, for the wrongs committed against me and continuing to be done against me by
The Rhode Island Attorney General. | have no access to a Law Library at this time and believe it or not

Am learning to just now navigate the WWW. In this day and age. As there is no such thing in the Rhode

island Department of Corrections.

Wherefore, the plaintiff asks the court to look at this case anew and help the unemployed, broke

Vet to get the justice that he deserves in the unlawful conviction and sentence that he already served
Because of the injustices of the Rhode Island Attorney Generals and there practice of law.

Respectfully Submitted,

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Gerald M. Brown Jr. -

1 Wingate Rd.
Riverside, R.1. 02915

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CERTIFICATION

1 certify that one true copy of this motion was sent by First Class U.S. Mail to; the Office of the RI
Attorpfey General at 150 South Main St. Providence, Ri 02903 on this the 15" day of January 2013.

Gerald M. W, Jr.

